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                    UNITED STATES DISTRICT COURT
                       DISTRICT OF MINNESOTA

 In re: Dividend Solar Finance, LLC, and
 Fifth Third Bank Sales and Lending              MDL No. 24-3128 (DMM/DTS)
 Practices Litigation

 This Document Relates to 24-cv-01181:
                                                 STATE OF MINNESOTA’S
 State of Minnesota, by its Attorney             MOTION TO REMAND
 General Keith Ellison,                          UNDER 28 U.S.C. § 1441(c) or
                                                 § 1367(c)
 Plaintiff,

 v.

 GoodLeap LLC, Sunlight Financial LLC,
 Solar Mosaic LLC, and Fifth Third Bank,
 N.A. dba Dividend Finance,

 Defendants.



       Plaintiff the State of Minnesota by its Attorney General Keith Ellison (“the

State”) moves to sever and remand claims against GoodLeap LLC, Sunlight

Financial LLC, and Solar Mosaic LLC pursuant to 28 U.S.C. § 1441(c)(2).

Alternatively, the AGO requests that the Court decline jurisdiction and remand

such claims or claims against all Defendants pursuant to 28 U.S.C. § 1367(c)(2),

(3), or (4). This motion follows removal of the action by Defendants Sunlight

Financial LLC and Dividend Solar Finance LLC on April 5, 2024. The State’s

motion is supported by the accompanying memorandum of law and all other

papers submitted and arguments related to the motion.
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Dated: November 25, 2024               Respectfully submitted,

                                       KEITH ELLISON
                                       Attorney General

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